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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/




               STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
                DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                 ON THE ISSUE OF PLAINTIFFS’ STATUS AS PUBLIC FIGURES

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           Pursuant to Local Rule 56.1(a), Defendants submit this statement of material facts as to
   which Defendants contend there does not exist a genuine issue to be tried.
           1.      Until January 1, 2018, Aleksej Gubarev was the Chairman, CEO, and Director of
   XBT. Declaration of Nathan Siegel (“Siegel Decl.”)1 Ex. 1 at Resp. No. 1; Ex. 2 at Resp. No. 3.
           2.      Webzilla Inc. is a subsidiary of XBT. Compl. [Dkt. 1-2], ¶ 7.
           3.      Gubarev resides in Cyprus and is a citizen of Lithuania, Russia, and the
   Dominican Republic. Ex. 3 [Transcript of the Deposition of Aleksej Gubarev, Apr. 30, 2018
   (“Gub. I Depo.”)] at 16:16-17:2.
           4.      In 2003, Gubarev was involved in organizing an international conference, called
   the “AWMOpen Conference,” which was a forum for Russian-speakers involved in the online
   pornography industry. The inaugural conference was held in Moscow, with subsequent
   conferences hosted annually in cities around the world including Prague, Amsterdam, Pattaya
   (Thailand) and Malta, until at least 2015. Ex. 4; Ex. 5; Ex. 6; Ex. 7; Ex. 3 [Gub. I Depo.] at
   57:2-10; 60:16-18, 74:3-7.
           5.      The AWMOpen Conferences created the “Master X Award” and “GFY Award”,
   which were awarded to adult webmasters at each conference. Ex. 3 [Gub. I Depo.] at 74:10-
   76:3; Ex. 9.
           6.      After Gubarev founded the first Webzilla companies in 2005, the brand sponsored
   AWMOpen conferences. Ex. 3 [Gub. I Depo.] at 69:1-12, 99:8-11; Ex. 8 at 1; Ex. 9 at 3; Ex. 10
   at 2, Ex. 6 at 2; Ex. 11 at 1. In conference brochures, Webzilla promoted itself as offering “high
   reliability, a wide channel, and liberal rules.” Ex. 8 at 1.
           7.      As recently as 2015 Gubarev and other top XBT executives attended the
   conferences. Ex. 12 [Transcript of the Deposition of Rajesh Mishra (“Mishra Depo.”)] at
   227:25-232:16; Ex. 13 at 43; Ex. 14 at 36.
           8.      In 2006 Gubarev started a company that founded AWMOpen Magazine, billed as
   “the leading magazine for Adult Webmastering.” Ex. 3 [Gub. I Depo.] at 82:8-84:9; 87:24-88:5;
   Ex. 15; Ex. 16. The magazine’s stated “goal” was “media support of online industries” by
   enhancing their legitimacy, with coverage “focusing mainly on adult business and other fields of
   online moneymaking.” Ex. 16.

   1
    Unless otherwise noted, all exhibits are attached to the Declaration of Nathan Siegel filed
   herewith.


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              9.    Gubarev has used the pseudonym “Alex XE” in connection with AWMOpen and
   AWMOpen Magazine. Ex. 17; Ex. 3 [Gub. I Depo.] at 11:18-25; 63:25-64:10.
              10.   “Alex XE” wrote in an early issue of the AWMOpen Magazine that it was “the
   first full-color, glossy, informative and entertaining magazine in the Russian language segment.”
   He emphasized that the magazine “is a step to improve the status of the Russian language
   segment in [the] international online business.” Ex. 15.
              11.   Between 2004 and 2008 a principal “informational sponsor” of the annual
   conferences was “Redeye” and his web forum crutop.nu. Ex. 10 at 2; Ex. 6 at 1; Ex. 7 at 3; Ex.
   11 at 4.
              12.   “Redeye” was an alias used by Pavel Vrublesky. Ex. 3 [Gub. I Depo.] at 81:11-
   18.
              13.   Vrublesky and Crutop.nu have been publicly linked to spam and cybercrime. Ex.
   18 (2006 Forbes article describing Crutop as an online “forum . . . where representatives of the
   semi-legal Runet areas meet”); Ex. 19 (article by investigative journalist Brian Krebs reporting
   that Vrublesky aided “the business of spam, fake antivirus and rogue Internet pharmacies, [and]
   shadow economies”); Ex. 20 at 12, 18 (2009 FTC court filings alleging that “Crutop.nu is a
   Russian language website that features a variety of discussion forums that focus on making
   money from spam” and that it ran advertisements for “advertisers of dubious legality, including
   ‘IncestMoney.com’”).
              14.   Public reports state that Vrublesky was imprisoned in Russia after being found
   guilty by a Russian court of launching a bot attack on a rival. Ex. 19.
              15.   One of the sponsors for the 2007 AWMOpen Conference was a web-hosting
   company called McColo. Ex. 3 [Gub. I Depo.] at 117:4-121:11; Ex. 21 at 2.
              16.   McColo has been publicly linked to cybercrime and hosting spam and botnets.
   Ex. 22; Ex. 23; Ex. 24; Ex.25. Before it was taken offline in 2008, it was reported to have been
   “was responsible for facilitating more than 75 percent of the junk e-mail blasted out each day
   globally.” Ex. 25.
              17.   3fn.net has been a sponsor for the AWMOpen conference. Ex. 3 [Gub. I Depo.]
   at 128:1-130:18; Ex. 5 at 1; Ex. 28.
              18.   3fn.net was shut down by the FTC in 2009 for allegedly operating as a “rogue
   Internet service provider” that “actively recruits and colludes with criminals seeking to distribute



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   illegal, malicious, and harmful electronic content including child pornography, spyware, viruses,
   trojan horses, phishing, botnet command and control servers, and pornography featuring
   violence, bestiality, and incest.” Ex. 26; Ex. 27; Ex. 3 [Gub. I Depo.] at 127:25-129:24.
          19.     Beginning in 2012, XBT and Webzilla began to circulate press releases using the
   service “Marketwired,” a London-based company that circulates press releases worldwide. Ex.
   29; Ex. 30; Ex.31.
          20.     In a 2014 press release entitled “Webzilla is Now in the Company of Giants,” the
   company stated that “Webzilla has transitioned itself to stand among the ranks of exclusive peers
   such as Netflix, Google, and Akamai, quietly taking its rightful place among the giants.” Ex. 32.
          21.     In a 2015 press release about XBT’s service SecureVPN, XBT’s CFO Rajesh
   Mishra stated that “[t]he creation of SecureVPN was to introduce a unique version of online
   safety and help with internet protection.” Ex. 33.
          22.      In a 2014 press release about XBT’s acquisition of the domain name DDoS.com,
   the company stated: “The acquisition of DDoS.com combined with the expertise developed by
   all the companies under the XBT umbrella in dealing with threats to security, including DDoS
   attacks, guarantees a service that will make the online world a safer place.” Ex. 34.
          23.     One of XBT’s purposes in acquiring DDos.com was to create a “forum to educate
   people” about online safety. Ex. 12 [Mishra Depo.] at 124:12-126:3.
          24.     XBT and Webzilla executives were interviewed by trade publications covering
   the internet hosting industry. Ex. 35; Ex. 36 at P-F000021; Ex. 37.
          25.     In the fall of 2015, Plaintiffs hired an American public relations firm, Cutler PR,
   and tasked it with focusing on the U.S. market and trying to get journalists to write articles
   related to the company and its executives. Ex. 38 [Transcript of the Deposition of Nikolay Dvas
   (“Dvas Depo.”)] at 43:21-24, 47:20-48:5, 58:21-59:1, 83:1-6.
          26.     Cutler’s plan was to establish the company and its executives as “Thought
   Leaders” about issues related to technology. Ex. 38 [Dvas Depo.] at 49:10-52:1; Ex. 39 at 12;
   Ex. 40 at P-P000977; Ex. 41 at P-P001024.
          27.     Cutler proposed to “pitch top list, feature, trend and op-ed stories” to the media,
   targeting both major general business media like CNN Money, Bloomberg, Forbes and Reuters
   and leading publications focusing on technology like VentureBeat, CNET and Gizmodo. Ex. 38
   [Dvas Depo.] at 49:10-54:24, 56:13-21; Ex. 39 at 14-15, Ex. 40 at P-P000977.



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             28.     Cutler also aimed to “raise key [XBT] executives’ profiles with bylined articles”
   that it pitched to news editors to publish. Ex. 38 [Dvas Depo.] at 51:15-23; Ex. 39 at 12.
             29.     Those articles were not intended to be “product specific” or “profile stories of the
   company”; rather, the intent of this approach was to establish “credibility” with journalists so
   that “the press will seek commentary on timely topics.” Ex. 38 [Dvas Depo.] at 51:4-14; Ex. 41
   at P-P001024.
             30.     Cutler pitched multiple publications like Forbes and persuaded editors to publish
   several op-ed type articles under the byline of one of the company’s executives, Nikolai Dvas.
   One of these articles – about why Luxembourg (where XBT had its headquarters) is an attractive
   place to do business – was published by CNBC, and Luxembourg’s Prime Minister re-posted the
   article to the government’s Twitter feed. Dvas was pleased with the article placement and
   considered it “good publicity.” Ex. 38 [Dvas Depo.] at 73:34-75:10, 76:10-25; Ex. 42; Ex. 43;
   Ex. 44.
             31.     Inc., a prestigious business publication, listed Servers.com as one of “18 Tech
   Companies to Get Excited About,” noting that it “boasts super-secure” servers. Cutler told Dvas
   it was responsible for that publicity. Ex. 38 [Dvas Depo.] at 97:13-25; Ex. 45; Ex. 46.
             32.     In 2015, XBT began to expand its business to Russia, which had just enacted a
   data privacy law requiring that the data of all Russian citizens be stored within Russia. XBT
   purchased an existing Russian company (“Edinaya Set”) to establish data center presence in
   Russia. Ex. 3 [Gub. I Depo] at 265:5-266:12; Ex. 47; Ex. 48; Ex. 49 [Transcript of the 30(b)(6)
   Deposition of Alexsej Gubarev, June 28, 2018 (“30b6 Depo.”)] at 73:19-74:1, 88:2-18; Ex. 50;
   Ex. 51.
             33.     The law was the subject of considerable publicity, including criticism that it was
   an effort by Putin’s government to assert control over information flowing in and out of Russia.
   Ex. 50, Ex. 51.
             34.     Gubarev thought the new law was a business opportunity for XBT. Ex. 49 [30b6
   Depo.] at 88:2-18; Ex. 3 [Gub. I Depo.] at 265:5-268:6; Ex. 47 (“The move enables XBT to
   deploy its solutions to the local market in observance of the legal standards of the Russian
   Federation.”); Ex. 52 (XBT “provides the platform for businesses who maintain presence in
   Russia, as such entities are legally required to store personal data within Russia’s physical
   borders.” ).



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             35.   XBT issued press releases emphasizing how the new law relates to its services.
   Ex. 3 [Gub. I Depo.] at 286:6; Ex. 47; Ex. 52.
             36.   Gubarev and other XBT executives spoke to the press about the Russian law and
   XBT’s entrance into Russia. Ex. 3 [Gub. I Depo.] at 285:12-13, 287:10-15; Ex. 53; Ex. 54; Ex.
   55.
             37.   Dvas asked Cutler PR to pitch stories to U.S. media about XBT’s entry into the
   Russian market. Ex. 38 [Dvas Depo.] at 77:12-80:9, 82:19-25; Ex. 56.
             38.   Gubarev led a press conference in Moscow announcing the launch of their data
   center there. The launch received coverage in Russian media. Ex. 38 [Dvas Depo.] at 110:20-
   114:6; Ex. 3 [Gub. I Depo.] at 285:22-286:12; Ex. 57.
             39.   Dvas invited German Klimenko, President Vladimir Putin’s adviser on internet
   affairs, to attend the press event in Moscow. Ex. 38 [Dvas Depo.] at 128:25-129:4, 131:5-16;
   Ex. 58.
             40.   In presentations, Gubarev described XBT as offering “the fastest network in
   Russia” and “the most powerful hardware in Russia.” Ex. 59; Ex. 38 [Dvas Depo.] at 116:15-
   118:2.
             41.   In interviews, Gubarev asserted that “[t]he main event of the year [is] our entry
   into the Russian market, as well as the launch and incredible success of our partner Prisma AI,”
   Ex. 53, and that XBT’s entry into Russia “will become the foundation for the development of
   international potential [in] the Russian market,” Ex. 54.
             42.   Gubarev also commented: “It is interesting, if earlier botnets infected home
   computers, now the same thing happens more often with cloud servers. According to our data
   . . . control and security are key factors in making decisions on choosing a host.” Ex. 53.
             43.   In 2016 Gubarev spoke at the Russian Internet Forum about “trends in the
   infrastructure of the global and Russian internet.” Ex. 60; Ex. 38 [Dvas Depo.] at 126:5-21; Ex.
   3 [Gub. I Depo.] at 254:20-255:3.
             44.   The Russian Internet Forum was attended in 2016 by Russian officials responsible
   for the Internet, including Klimenko, whom Gubarev met there. Ex. 38 [Dvas Depo.] at 132:13-
   134:3; Ex. 61 at P-P001256; Ex. 3 [Gub. I Depo.] at 272:6-10.
             45.   Servers.ru (the company’s brand name in Russia) was a sponsor of the Russian
   Internet Forum in 2016. Ex. 38 [Dvas Depo.] at 124:2-125:5.



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          46.     XBT’s marketing director lobbied Putin internet advisor Klimenko to secure
   Gubarev an opportunity to speak about “cyber-security” at the 2016 St. Petersburg International
   Economic Forum (“SPIEC”). Ex. 38 [Dvas Depo.] at 127:10-129:4; Ex. 62.
          47.     The SPIEC is organized each year on behalf of President Putin, who has also
   attended it. It is described as “a leading global platform for members of the business community
   to meet and discuss the key economic issues facing Russia, emerging markets, and the world as a
   whole.” Ex. 63.
          48.     Because Gubarev and Dvas believed that Cutler was not succeeding in generating
   publicity in media that was sufficiently “popular,” they terminated Cutler in March 2016 and
   sought a replacement PR company that could “maintain persistent citation level across business
   media with company news or experts’ comments.” Ex. 38 [Dvas Depo.] at 94:20-95:18, 118:11-
   120:11, 121:7-122:8, 160:3-8; Ex. 64; Ex. 65; Ex. 3 [Gub. I Depo.] at 256:19-257:2.
          49.     In July 2016, Servers.com retained KGlobal, a PR firm based in Washington,
   D.C. Ex. 38 [Dvas Depo.] at 137:21-138:3, 141:25-142:15; Ex. 66; Ex. 3 [Gub. I Depo.] at
   243:10-12.
          50.     In July 2016 a KGlobal team traveled to Cyprus to conduct a “full-day media
   training” for Gubarev and other executives, including training on “how to talk to a journalist.”
   Ex. 38 [Dvas Depo.] at 143:12-144:20; 147:21-148:4.
          51.     KGlobal’s PR plan included pitching Gubarev to journalists as an industry
   “thought leader” and “expert” on matters related to Russia and technology. Ex.67; Ex. 68; Ex. 3
   [Gub. I Depo.] at 246:6-8
          52.     Gubarev specifically requested his name be included in publications. Ex. 139.
          53.     KGlobal contacted news organizations like Bloomberg, Associated Press,
   Gizmodo, TechCrunch and many others to solicit interviews with Gubarev. Ex. 38 [Dvas Depo.]
   at 156:9-158:10; Ex. 70.
          54.     KGlobal also contacted journalists to persuade them to interview Gubarev as a
   “successful young Russian entrepreneur” who is a “great resource for stories about the Russian
   tech, startup, and entrepreneur scene.” Ex. 69. KGlobal made the same pitch to Forbes,
   ReCode, PC Magazine, TechCrunch, CNN, San Francisco Chronicle, Milwaukee Journal
   Sentinel, Fortune and many others, noting that “Aleksej was named a finalist by Ernst Young
   Russia’s Entrepreneur of the Year” and distributing a photo to journalists. Ex. 71.



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             55.   Gubarev gave interviews to reporters from Bloomberg, Business Insider,
   VentureBeat, and Tech Insider. Exs. 72-75; Ex. 3 [Gub. I Depo.] at 257:7-258:2; Ex. 76.
   Gubarev was also interviewed by Forbes and by Bloomberg once again; had interviews
   scheduled with the Wall Street Journal; and sat for a 20-minute podcast titled “Biggest Lesson of
   Growing a Company with Aleksej Gubarev” for a podcast series KGlobal described as “the #1
   mobile app podcast” at the time. Ex. 77; Exs. 78-80; Ex. 81; Ex. 82; Ex. 83; Ex. 84.
             56.   On October 31, 2016, Slate published a story about cyber-contacts between
   Russia’s Alfa Bank and the Trump campaign. Ex. 85.
             57.   Shortly thereafter, a Bloomberg reporter who knew Gubarev from a previous
   interview reached out to him to ask him, “as a specialist,” to help “sort out [the] technical
   details” of the communications described in the Slate article. Ex. 88; Ex. 86 [Transcript of the
   Deposition of Aleksej Gubarev, May 16, 2018 (“Gub. II Depo.”)] at 9:1-12:16; Ex. 87 [Gub. II
   Ex. 3]; Ex. 3 [Gub. I Depo.] at 257:25-262:12.
             58.   Gubarev asked an employee of one of the XBT companies to analyze the
   technical claims in the Slate story and then e-mailed the reporter an “expert opinion” that was an
   annotated commentary as to “whether this is true or not.” Ex. 86 [Gub. II Depo.] at 12:17-16:18;
   Ex. 88.
             59.   The “opinion about the [Slate] article” that Gubarev provided was that the
   information about allegations of collusion was either not reliable or not legally obtained. Ex. 86
   [Gub. II Depo.] at 15:18-23; Ex. 88.
             60.   Gubarev asked the reporter if he would “be referenced in the article” and told the
   reporter to contact him if anything else was needed. Ex. 86 [Gub. II Depo.] at 33:21-35:2; Ex.
   88.
             61.   The resulting Bloomberg article published the next day, titled “Clinton Plugs
   Another Weak Story About Trump’s Ties to Putin,” called the accusations of collusion “a
   trumped-up story” that “is easily debunked.” Ex. 81. The article stated: “Alexey Gubarev, chief
   executive officer of Luxembourg-registered XBT Holding, which owns the infrastructure-as-a-
   service provider Servers.com, told me there was no legitimate way to get access to the full logs
   of a server that you do not control.” Id.; Ex. 3 [Gub. I Depo.] at 263:3- 264:14.




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          62.     Gubarev terminated KGlobal in December 2016 because he and Dvas thought
   KGlobal was “not succeeding in getting as much publicity as [we] would have liked.” Ex. 38
   [Dvas Depo.] at 181:11-183:25; Ex. 89.
          63.     A few days later, Dvas and Gubarev re-hired KGlobal for “crisis services” to help
   them handle a major story about a Russian-based, criminal botnet operation that was using
   servers from Webzilla and Servers.com. Ex. 90.
          64.     In December 2016 a cybersecurity firm called “White Ops” published a report
   detailing what the firm said was a massive fraud by Russian cybercriminals, which it dubbed
   “Methbot.” Ex. 91. It reported that “Russian cybercriminals are siphoning millions of
   advertising dollars per day away from U.S. media companies and the biggest U.S. brand name
   advertisers in the single most profitable bot operation discovered to date.” Id. at 3. WhiteOps
   noted that the operation used “physical servers located in data centers in Dallas, TX and
   Amsterdam.” Id. at 20.
          65.     The news generated widespread international media coverage. Ex. 92 (citing
   reports in Forbes, Fortune, New York Times and CNN); Ex. 93 (articles referenced in Ex. 92).
          66.     When Dvas read the data published by White Ops, he realized that the bot activity
   was being conducted using IP addresses attached to servers leased by one of the XBT group’s
   largest customers. Ex. 38 [Dvas Depo.] at 186:16-22; 188:20-189:25; 195:23-196:8; 199:7-
   200:3; Ex. 90. That customer had personally come to Cyprus several times to meet Gubarev and
   other XBT executives. Ex. 38 [Dvas Depo.] at 191:3-25; Ex. 94.
          67.     In November 2016, the Methbot customer paid almost $400,000 to XBT
   companies, which represented 7.5% of XBT’s total revenue ($5.3 million) for that month. Ex.
   95 at 3 (XBT November 2016 revenue); Ex. 96 (Methbot customer revenues).
          68.     In 2016, XBT (through its subsidiaries) earned nearly $2.2 million from the
   Methbot customer, which represented 4.4% of XBT’s consolidated revenues for that year. Ex.
   96; Ex. 97.
          69.     Dvas realized the company could face significant reputational damage if a
   journalist discovered that the servers belonged to Servers.com and Webzilla. Dvas asked
   KGlobal to help “minimize the bad publicity we could get from having this customer” by
   “establish[ing] control on the media field in this aspect.” KGlobal advised that “[g]iven the
   recent controversy over Russian hacking in the U.S. election,” it was important to “get in front of



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    the story.” Ex. 38 [Dvas Depo.] at 198:1-7, 212:1-214:19; Ex. 90; Ex. 3 [Gub. I Depo.] at 179:1-
    15.
           70.      Dvas instructed KGlobal to proactively reach out to White Ops and journalist
    Brian Krebs, who had written about the Methbot report, and to say that Plaintiffs were also
    “victims” of the scam. Ex. 98; Ex. 38 [Dvas Depo.] at 213:7-214:19.
           71.      Dvas also instructed KGlobal only to reveal that the perpetrator was a Webzilla
    customer and to avoid (unless asked) any connection to their newer brand, Servers.com. Dvas
    explained that because “Webzilla had some ambivalent episodes in its history, and has had some
    customers with doubtful reputation,” they “want[ed] the damage to be limited to Webzilla” rather
    than the newer brand. Ex. 98; Ex. 99.
           72.      Following Dvas’s instructions, KGlobal reached out to Krebs as Webzilla’s
    “spokesperson.” Ex. 100; Ex. 101; Ex. 38 [Dvas Depo.] at 233:9-234:5.
           73.      When the Dossier was published on January 10, 2017, Gubarev immediately
    asked KGlobal to plan a press strategy. Ex. 102. An internal memo advised that Plaintiff’s
    media response should aim to “protect not only XBT/Webzilla brands, but personal brand of
    Alex, which happens to be our most valuable asset in terms of branding right now.” Ex. 103.
           74.      On January 11 a leading Dutch newspaper, de Volkskrant, reported about
    Plaintiffs’ connection to the Dossier, focusing on Webzilla’s history in the Netherlands. Ex. 104.
           75.      Webzilla B.V. retained the Amsterdam office of Hill & Knowlton Strategies to
    assist with media relations in Europe. Ex. 105 [Transcript of the Deposition of Jochem Steman,
    May 16, 2018 (“Steman Depo.”)] at 48:5-50:6; 59:12-61:6; Ex. 106.
           76.      Both KGlobal and Hill & Knowlton monitored the press, spoke with journalists,
    arranged interviews for Gubarev and suggested talking points for him. Ex. 107; Ex. 108 at P-
    H000014-15; Ex. 109; Ex. 110; Ex. 111; Ex. 105 [Steman Depo.] at 63:6-64:14, 71:6-11; Ex.
    112; Ex. 113.
           77.      Plaintiffs tried to negotiate pre-conditions for an interview of Gubarev by de
    Volkskrant, including their right to review the resulting article before it was published. Ex. 105
    [Steman Depo.] at 77:17-78:16, 86:25-87:15; Ex. 114; Ex. 115; Ex. 116. The article was
    published on January 19. 2017. Ex. 137.




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           78.     Gubarev maintained that Plaintiffs were named in the Dossier as a direct response
    to his comments in Bloomberg. Ex. 117; Ex. 118; Ex. 119; Ex. 120; Ex. 86 [Gub. II Depo.] at
    52:4-12.
           79.     Prior to BuzzFeed’s publication of the Dossier, the issues of cybersecurity and
    cybercrime; links between malicious cyber-activity and actors linked Russia and former Soviet
    states; and Russian interference in the 2016 U.S. election were topics of public discourse,
    receiving press coverage in major media outlets. Ex. 18; Ex. 121; Ex. 122; Ex. 123; Ex. 124;
    Ex. 125; Ex. 126; Ex. 127; Ex. 128; Ex. 140.
           80.     The Dossier was not the first time that Plaintiffs’ relationship to questionable
    “porn traffic” was the subject of press scrutiny. Ex. 129; Ex. 130; Ex. 131; Ex. 132.

    Dated: September 21, 2018               Respectfully submitted,

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